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                      UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF PENNSYLVANIA


 Public Interest Legal Foundation,

                       Plaintiff,


 David Voye, Manager of Elections for Allegheny
 County, and Rich Fitzgerald, Bethany Hallam and               20-cv-00279-CB-CRE
 Samuel DeMarco III, as Members of the Allegheny
 County Board of Elections in their official capacities,

                     Defendants.


                            JOINT STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff and Defendants (the

“Parties”) in the above-captioned action hereby stipulate that this action be dismissed in its entirety

with prejudice.


Dated: May 18, 2020.
                                                       Respectfully submitted,

                                                       For Plaintiff:

                                                       /s/ Linda A. Kerns
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                                                       /s/ Noel H. Johnson
                                                       Noel H. Johnson*
                                                       Sue Becker*


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                                   For Defendants:

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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 18, 2020, I electronically filed the foregoing using the

Court’s ECF system, which will serve notice on all parties.


                                                       /s/ Noel H. Johnson
                                                     njohnson@publicinterestlegal.org
                                                     Counsel for Plaintiff




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